       Case 1:21-cr-00303-ABJ-ZMF Document 89 Filed 09/18/22 Page 1 of 3




                                UNITED STATES DISTRICT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      )
                                              )
                                              )
v.                                            )       Case No. 21-cr-00303-ABJ-ZMF-2
                                              )
DEBORAH LEE,                                  )
                                              )
                                              )
                        Defendant             )
                                              )



                       DEFENDANT DEBORAH LEE’S MOTION FOR
                           TRIAL BY MAGISTRATE JUDGE




        NOW comes Defendant, Deborah Lee, by and through her counsel of record, John M.

Pierce, Esq., respectfully submits this request and waiver to this Honorable Court to proceed to

trial by magistrate judge of the district.

        Deborah Lee was charged with violations of 18:1752(a)(1) and (2) and with

40:5104(e)(2)(D) and (G) by and through a criminal complaint filed on August 5, 2021

        Pursuant to 18 U.S.C. § 3401, a defendant that is charged with only misdemeanor may

elect to expressly waive a trial, judgment and sentencing by a district judge and does so either in

writing or by oral motion on the record.

        Therefore, notice is hereby given that Defendant Deborah Lee waives her right to a trial,

judgment, and sentencing by a district court judge and hereby elects to proceed to a trial by a

magistrate judge for the District of Columbia.




                                                  1
     Case 1:21-cr-00303-ABJ-ZMF Document 89 Filed 09/18/22 Page 2 of 3




Dated: September 18, 2022
                                         Respectfully submitted,

                                         /s/ John M. Pierce
                                         John M. Pierce
                                         John Pierce Law P.C.
                                         21550 Oxnard Street
                                         3rd Floor PMB #172
                                         Woodland Hills, CA 91367
                                          P: (213) 349-0054
                                          jpierce@johnpiercelaw.com




                                     2
      Case 1:21-cr-00303-ABJ-ZMF Document 89 Filed 09/18/22 Page 3 of 3




                           CERTIFICATE OF SERVICE

I, John M. Pierce, hereby certify that on this day, July 12, 2022, I caused a copy of
 the foregoing document to be served on all counsel through the Court’s CM/ECF
                                 case filing system.




                                 /s/ John M. Pierce
                                   John M. Pierce




                                           3
